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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

www. fisb.uscourts.gov
In re: Case No.: 18-17091-EPK
Chapter 7
RYAN DUNN
Debtor
/

 

TRUSTEE’S MOTION FOR CONTEMPT AND SANCTIONS

Michael R. Bakst, Trustee in Bankruptcy for Ryan Dunn, by and through undersigned
counsel, hereby files this Motion for Contempt and Sanctions and states:

1. This voluntary Chapter 7 proceeding was filed on June 23, 2018. Michael R.
Bakst has been appointed as the Chapter 7 Trustee.

2. On November 15, 2018, the Trustee filed an Objection to Debtor's Claim of
Exemptions , in addition to Motion For Turnover Of Property (12161 Boca Reserve Lane, Boca
Raton Fl 33428 2011 Lincoln MKT federal exemptions for funds), Motion to Approve Trustee's
Revocation of a Revocable Trust created by the Debtor. (ECF#137)

3. A hearing was to be held on November 28, 2018 (ECF#138) which was continued
pursuant to the Agreed Order Granting Motion to Continue Hearing to be held on December 5,
2018. (ECF#145)

4. A Response to the Trustee’s Objection to Debtor's Claim of Exemptions filed by
Trustee Michael R Bakst, Motion For Turnover Of Property (12161 Boca Reserve Lane, Boca
Raton Fl 33428 2011 Lincoln MKT federal exemptions for funds), Motion to Approve Trustee's
Revocation of a Revocable Trust created by the Debtor) was filed by the Debtor on December 3,

2018. (ECF#151)

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5. A Re- Notice of Hearing on Trustee’s Objection to Debtor's Claim of Exemptions
in addition to Motion For Turnover Of Property (12161 Boca Reserve Lane, Boca Raton Fl
33428 2011 Lincoln MKT federal exemptions for funds), Motion to Approve Trustec's
Revocation of a Revocable Trust created by the Debtor was scheduled for December 12, 2018.
(ECF#152)

6. On January 9, 2019 the Court entered an Order Sustaining Trustee’s Objection to
Exemptions in Part, Revoking Trust, Reserving Ruling in Part and Setting Evidentiary Hearing
February 26, 2019 at 9:30 a.m. on Debtor's Claim of Homestead Exemption (ECF#168). The
Court did in fact rule upon the claimed exemption of a 2011 Lincoln MKT and certain money in
the bank that was found to be non-exempt and which the Debtor was required to turn over.

7. The Debtor has failed and refused to comply with the Court’s Order of January 9,
2019. (ECF#168) Within seven (7) days from the date of the order entered on January 9, 2019.
(ECF#168) the Debtor was required to turn over the 2011 Lincoln MKT to the Trustee to be
administered with his entitlement of $4,946.15 being paid from the net sales proceeds unless the
Debtor paid $2,053.85 to the Trustee for the equity above exemptions within the next seven (7)
days from the date of the Order entered on January 9, 2019. (ECF#168). The Debtor failed to
comply with this requirement and made no attempt to seek an extension to comply for any
reason.

8. Further, in order to comply with the Court’s Order of January 9, 2019, the Debtor
was to immediately turn over the funds from one bank account in the amount of $78.85. The
Debtor failed to comply with this requirement of the Court and made no attempt to seek an

extension to comply for any reason.

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9. It appears to the Trustee that the Debtor is intentionally, willfully, and with
disregard for the authority of the Court failing and refusing to comply with court orders.

10. Accordingly, the Trustee seeks an order finding the Debtor in contempt of court,
imposing sanctions by way of the attorney fees and costs that the estate has incurred, and
providing that if the Debtor fails to purge such contempt by complying with the Order entered by
the Court on January 9, 2019 (ECF#168) on or before a date set by the Court, and paying
sanctions, the Court shall, upon affidavit alone of the Trustee or Trustee’s counsel of non-
compliance by the Debtor, enter an order denying discharge, and that the Court, upon further
motion of the Trustee, would enter a separate order directing the U.S. Marshals to apprehend the
Debtor to bring him before the Court for a determination of further sanctions, including, but not
limited to, incarceration.

WHEREFORE Michael R. Bakst, Trustee in Bankruptcy for Ryan Dunn, by and through
undersigned counsel, respectfully requests that the Court enter an order finding the Debtor, Ryan
Dunn in contempt of Court based on the failure to comply with the Order (ECF#168), and
providing sanctions against the Debtor, by way of attorney fees that the estate has incurred based
upon the inherent jurisdiction of the Court. Moreover, the Trustee requests that the Court Order
provide that in the event the Debtor fails to purge the contempt by complying with the Order
entered by the Court on January 9, 2019 (ECF#168) on or before a date set by the Court, and
paying sanctions, the Court shall, upon affidavit alone of the Trustee or Trustee’s counsel of
non-compliance by the Debtor, enter an order denying discharge, and that the Court, upon further
motion of the Trustee, would enter a separate order directing the U.S. Marshals to apprehend the

Debtor to bring him before the Court for a determination of further sanctions, including, but not

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limited to, incarceration, plus grant such other and further relief as the Court deems just and

proper.

I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

for the Southern District of Florida, and | am in compliance with the additional qualifications to

practice in this Court set forth in Local Rule 2090-1(A).

I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

to the parties listed below, and in the manner indicated on this (4 day of

2019,

wan MARDER LLP
[ 4. /

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